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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

QUINCY MARQUIS PRIM,                       )
                                           )
              Petitioner,                  )
                                           )     CIVIL ACTION NO. 08-0027-WS
v.                                         )
                                           )     CRIMINAL ACTION NO. 06-0042-WS
UNITED STATES OF AMERICA,                  )
                                           )
              Respondent.                  )

                                          ORDER
       The petitioner has filed a motion to reconsider, vacate or modify the Court’s order
on his motion to vacate. (Doc. 359). The petitioner notes that the Court granted relief on
the third ground of his motion (that his trial counsel rendered ineffective assistance in
failing to file a direct appeal), but did not rule on his first and second grounds. His
motion to reconsider requests the Court to do so.
       When, as here, a petitioner on motion to vacate obtains relief in the form of an out-
of-time appeal, “the best approach is to dismiss without prejudice or hold in abeyance the
resolution of remaining collateral claims pending the direct appeal.” McIver v. United
States, 307 F.3d 1327, 1331 n.2 (11th Cir. 2002); accord United States v. Frank, 2009 WL
3842755 at *2 (11th Cir. 2009) (the best approach is to dismiss the collateral claims
without prejudice).1
       For the reasons set forth above, the motion to reconsider is denied. The
petitioner’s claims, other than that his counsel rendered ineffective assistance in failing to
file a direct appeal, are dismissed without prejudice.



       1
       The petitioner’s “successful motion to file an out-of-time notice of appeal is not to
be counted as a first petition for the purposes of subsequent collateral proceedings.”
McIver, 307 F.3d at 1332. Therefore, the dismissal without prejudice does not of itself
preclude the petitioner from asserting these grounds at a later juncture.
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      DONE and ORDERED this 8th day of March, 2010.


                                           s/ WILLIAM H. STEELE
                                           UNITED STATES DISTRICT JUDGE




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